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                   IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF ARKANSAS

UNITED STATES OF AMERICA                                          PLAINTIFF

v.
                                   NO. 4:17CR00293 BSM

AMOS ADAME                                                        DEFENDANT


       MOTION FOR MODIFICATION OF CONDITIONS OR RELEASE

       Comes now the defendant and for his motion states as follows:

       1.     The defendant’s conditions of release do not allow for him to work outside

the state of Arkansas. Before this indictment the defendant was regularly employed by

Star Con International Co. headquartered in Illinois. The defendant’s employer works in

manufacturing plants in various states and performs plant retrofitting, machinery repair

and other necessary functions in plant ‘shutdowns’ and employs full-time workers,

including defendant, who work jobs for several weeks at a time. The defendant has been

given notice by Star Con International through his regular supervisor, Mike Martin, that

the company needs him to work at a ‘shutdown’ at a manufacturing facility in Bradford,

Pennsylvania starting work on April 29, 2019. He will be working 10-12 hours a day,

seven days a week for approximately two weeks and be paid $35.00 an hour, $100.00

daily per diem and travel and lodging expenses.

       2.     Since being under the current conditions of release, defendant is having

much difficulty obtaining any meaningful employment in the locality of his home in Pope

County and surrounding area. He has outstanding child support obligations he is behind

on and is in jeopardy of having warrants issued and possible contempt citations from the
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supervising court. He has fallen behind on paying outstanding fines that he is required to

pay as well as now behind in paying his parole and probation monthly fees.

       3.      The defendant was working a mill shutdown in Colorado when this

indictment was issued. Upon reviewing notice, he submitted himself to the United States

Marshall voluntarily and was allowed by the local Federal Magistrate to return to

Arkansas one his own and he did so and is no flight risk.

       4.      Counsel has conferred with the AUSA on this case and is authorized to

state the United States has NO OBJECTION to this request. The defendant respectfully

requests the Court modify his conditions of release to allow him to return to the work he

was doing with his employer,      STAR CON International, Inc. in the pending job in

Bedford, Pennsylvania.

                                                    Respectfully submitted,

                                                    /s/ Richard E. Holiman___________
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